 Case 2:23-cr-00047-JLS Document 190 Filed 05/24/24 Page 1 of 4 Page ID #:4196




 1   CUAUHTEMOC ORTEGA (Bar No. 257443)
     Federal Public Defender
 2   CHARLES J. SNYDER (Bar No. 287246)
     Email: Charles_Snyder@fd.org
 3   SAMUEL CROSS (Bar No. 304718)
     Email: Sam_Cross@fd.org
 4   J. ALEJANDRO BARRIENTOS (Bar. No. 346676)
     Email: Alejandro_Barrientos@fd.org
 5   Deputy Federal Public Defenders
     321 East 2nd Street
 6   Los Angeles, California 90012-4202
     Telephone: (213) 894-2854
 7   Facsimile: (213) 894-0081
 8   Attorneys for Defendant
     THOMAS VINCENT GIRARDI
 9
10                             UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12                                   WESTERN DIVISION
13   UNITED STATES OF AMERICA,                       Case No. 2:23-cr-47-JLS-1
14                                                   EX PARTE APPLICATION TO SET
                  Plaintiff,                         BRIEFING SCHEDULE ON
15                                                   CHRISTOPHER KAMON’S
           v.                                        MOTION TO EXCLUDE EVIDENCE
16                                                   OF OTHER ACTS
17   THOMAS VINCENT GIRARDI,
18
                  Defendant.
19
20         Thomas Girardi, through counsel, applies ex parte for a briefing schedule on
21   Chrisopher Kamon’s Motion to Exclude Other Acts Evidence (Docket No. 189).
22   Girardi bases this application on the attached declaration, the files and records in the
23   case, and any other argument or evidence that the Court may consider.
24                                           Respectfully submitted,
25                                           CUAUHTEMOC ORTEGA
                                             Federal Public Defender
26
     DATED: May 24, 2024                 By /s/ Charles J. Snyder
27
                                             CHARLES J. SNYDER
28                                           Attorney for Thomas Girardi
 Case 2:23-cr-00047-JLS Document 190 Filed 05/24/24 Page 2 of 4 Page ID #:4197




 1                        DECLARATION OF CHARLES J. SNYDER
 2   I, Charles J. Snyder, declare as follows:
 3         1.     I am a California-licensed DFPD appointed to represent Tom Girardi in
 4   this matter. Unless otherwise stated, I make this declaration based on personal
 5   knowledge and, if called as a witness, would attest to its contents under oath.
 6         2.     On March 25, 2024, based on a stipulation of the parties, the Court entered
 7   an order continuing the trial date and setting a schedule for filing and hearing pretrial
 8   motions, with initial filings due on June 21, 2024.
 9         3.     On the afternoon of May 23, 2024, Girardi’s codefendant, Christopher
10   Kamon, filed a motion to preclude other acts evidence from a potential joint trial. The
11   motion was filed without any prior communication about a briefing schedule. From
12   earlier conversations, Kamon knows that Girardi intends to oppose the substance of his
13   motion.
14         4.     Upon receiving notice of the filing via CM/ECF, Girardi communicated
15   with Kamon and the government about stipulating to an alternative briefing schedule.
16   Because neither the government nor Kamon agreed, 1 and because oppositions are now
17   due in a week (including a weekend and federal holiday), Girardi has been required to
18   file this ex parte application.
19         5.     Girardi is seeking to modify the briefing and hearing schedule for
20   Kamon’s motion for two principal reasons:
21                a.     First, as the Court knows, there has been a substantial turnover of
22   Girardi’s defense team, which is working rapidly to learn and try the entire case within
23   seven months. Moreover, in the four months since competency proceedings concluded,
24
25         1
             It is Girardi’s understanding that, although Kamon did not meet and confer with
26   the government, the government intends to file an opposition next Friday, on the date
     set by Local Rule. While the government is free to do so, it has also been working on
27   this case for multiple years, and previously expressed a plan to file a motion to admit
     the same evidence Kamon now seeks to exclude, which may already be substantially
28   drafted. The government’s scheduling preferences should not dictate Girardi’s
     scheduling requirements.
                                                   1
 Case 2:23-cr-00047-JLS Document 190 Filed 05/24/24 Page 3 of 4 Page ID #:4198




 1   Girardi has received, for the first time, substantial exculpatory discovery related to
 2   Kamon, including reports and notes from five proffers, multiple digital devices
 3   containing large volumes of data, and millions of emails sent or received by Kamon
 4   and other government witnesses. Requiring Girardi to oppose an important,
 5   unexpected, and evidence-heavy motion a month earlier than anticipated – while he is
 6   still reviewing voluminous discovery for the first time – would result in substantial
 7   prejudice. This is especially true because the issues raised by the motion implicate
 8   Girardi’s Constitutional right to present a “complete defense,” Crane v. Kentucky, 476
 9   U.S. 683, 690 (1986), which includes, “at a minimum . . . the right to put before a jury
10   evidence that might influence the determination of guilt.” Pennsylvania v. Ritchie, 480
11   U.S. 39, 56 (1987).
12                  b.     Second, briefing and hearing the motion on the current schedule will
13   lead to a wasteful duplication of resources. As communicated to the government and
14   Kamon multiple times before May 23, Girardi plans to file a severance motion, which
15   is due on June 21. In that motion, he anticipates making arguments premised on his
16   intention to present evidence similar or identical to the evidence at issue in Kamon’s
17   recent filing. Between now and then, Girardi will be continuing to review discovery
18   and formulate his defense. Briefing and hearing Kamon’s motion on June 20, only to
19   receive an overlapping and further developed severance motion on June 21, as
20   contemplated by the jointly-agreed scheduling order, would result in wasteful
21   duplication.
22         6.       For these reasons, Girardi respectfully asks that the Court set a schedule
23   for Kamon’s motion that would see Girardi’s response due on June 21, at the same time
24   as his severance motion, any Reply due on June 28, and a hearing set for July 5 or 12,
25   2024. Girardi does not disagree that Kamon’s motion raises issues that should be
26   decided in advance of the late-July pretrial conference. By this application, he seeks
27   only to have the motion heard on a fair, orderly, and efficient schedule that affords a
28
                                                   2
 Case 2:23-cr-00047-JLS Document 190 Filed 05/24/24 Page 4 of 4 Page ID #:4199




 1   reasonable opportunity for all sides to present their positions while also not wasting or
 2   duplicating judicial resources.
 3         7.     On May 24, 2024, Girardi emailed the government and Kamon about his
 4   intention to file this ex parte application. As of the time of this filing, the government
 5   responded but had not yet taken a position on whether it intended to file a response to
 6   the application within 24 hours. Kamon stated that he “opposes any motion that seeks
 7   to delay or postpone the hearing on his motion to exclude evidence as set,” and would
 8   “file the opposition by the close of business on the next business day.” Due to the
 9   holiday, “the close of business on the next business day” would be approximately 96
10   hours after the filing of this ex parte application, and three days before the deadline to
11   oppose Kamon’s unilaterally-scheduled motion.
12
13         I declare under penalty of perjury that the foregoing is true and correct to the best
14   of my knowledge and belief. Executed May 24, 2024 at Los Angeles, California.
15
16
17                                                        /s/ Charles J. Snyder
                                                              Charles J. Snyder
18
19
20
21
22
23
24
25
26
27
28
                                                  3
